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                                      CLERK'S MINUTES OF ARRAIGNMENT

        Date ____08/30/2005____ Judge ______TORGERSON___ Clerk ______Mary Lou Gonzales____

        USA vs. __    MANUEL GIL *                                           __ Crim. No. ____05-1849 JH

        Deft. present with/without counsel__________ TIMOTHY PADILLA, RET’D           _____
                                                  Name           Apptd/Retd
        U.S. represented by ________ JAMES BRAUN                            _________AUSA

        Deft. not present __________   Marshal called for Deft. in hallway: Yes/No
        Bench warrant issued ___________     Bond forfeited _______________
        Interpreter present: Yes      Name of Interpreter___ Ruben Bustos                   ____
        Interpreter Used: Yes                Interpreter Sworn: Waived

        COURT ASKED THE DEFENDANT:

        ____ Name ______ Manuel Vincente Gil-Vazquez            ___SS#_____           ____
        ____ DOB ______ 1954                  ______ Tel. No. ___             ______________
        ____ Residence Address ________             Mexico                                 ___
        ____ Extent of education/schooling ____________ No schooling _____________________

        (Y) N Whether he is currently or has been recently under the care of a physician or psychiatrist; if he has
              been hospitalized or treated for narcotic addiction Diabetic - insulin injections twice daily

        (Y) N Whether he has received a copy of the Indictment
        (Y) N Whether he has had time to consult with attorney regarding penalties
        Y (N) Whether he wants Indictment read in open court
        (Y) N Whether he will waive reading of Indictment
        (Y) N Whether he is ready to plead
_X_ Defendant entered plea of not guilty to all counts
____ Defendant entered plea of not guilty to count Nos. ____________________________________________
_X__ Matter referred to USDC
_X__ Counsel ordered to file any motions by ______ 9/22/05      _________________________________
_X__ Case assigned to: HERRERA
_X_ Trial set on trailing docket_________TO BE NOTIFIED                ________________________________
_ _ Defendant requested psychiatric examination. Instructed to file motion in USDC
_X _ Bond set/continued at _ DEFT TO BE RELEASED ON PROPERTY BOND W/CONDITIONS
____ Previous bond motion denied; advised to file bond appeal in USDC
____ Unseal Case
____ Penalty for failure to appear explained
_X_ Discovery Order Distributed (e-filed)
_ _ First Appearance of Defendant          MAG. TAPE NO.__05-23 ACT @             287          _________


CONDITIONS: If deft does not have enough equity in house and 4 acres of land for the $100,000 secured
property bond recommended by Pre-Trial, the Court reduces the bond amount to the actual amount of the
equity owned in the deft’s house and land; Deft must report to PTS as directed; Electronic Monitoring
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w/Home Detention - pay associated costs as deemed appropriate; Maintain or actively seek employment; No
contact, direct or indirect, w/co-defts or witnesses in this case; No alcohol or drugs, except Rx by doctor;
Submit to alcohol/drug testing, testing, treatment and/or counseling as directed; Travel restricted to Torrance
and Bernalillo Counties or as otherwise authorized by PTS; Court directs Deft to remain in custody until all
conditions have been met.
